                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      )
                                              )
                v.                            )       Criminal No. 18-292
                                              )
ROBERT BOWERS                                 )

                     NOTICE OF INTENT TO SEEK THE DEATH PENALTY

         The United States of America, through undersigned counsel and pursuant to 18 U.S.C.

§ 3593(a), notifies the Court and defendant ROBERT BOWERS that the United States believes

the circumstances in Counts One through Eleven and Twenty-Three through Thirty-Three of the

Superseding Indictment, Doc. No. 44, are such that, in the event of a conviction, a sentence of

death is justified under 18 U.S.C. §§ 3591-3598, and that the United States will seek the sentence

of death for these offenses: Obstruction of Free Exercise of Religious Beliefs Resulting in Death

(Counts One through Eleven) and Use and Discharge of a Firearm to Commit Murder During and

in Relation to a Crime of Violence and Possession of a Firearm in Furtherance of a Crime of

Violence (Counts Twenty-Three through Thirty-Three), all of which carry a possible sentence of

death.

         The United States proposes to prove the following factors as justifying a sentence of death

with regard to Counts One through Eleven and Twenty-Three through Thirty-Three as specified

below:

         (A)    ROBERT BOWERS was 18 years of age or older at the time of the offense.

                (Counts One through Eleven and Twenty-Three through Thirty-Three).

         (B)    Statutory Threshold Factors Enumerated Under 18 U.S.C. § 3591(a)(2)(A)-(D):

                1. Intentional Killing.     ROBERT BOWERS intentionally killed J.F., R.G.,

                      R.M., J.R., C.R., D.R., B.S., S.S., D.S., M.W., and I.Y.          18 U.S.C.
   § 3591(a)(2)(A). (Counts One through Eleven and Twenty-Three through

   Thirty-Three).

2. Intentional Infliction of Serious Bodily Injury.            ROBERT BOWERS

   intentionally inflicted serious bodily injury that resulted in the deaths of J.F.,

   R.G., R.M., J.R., C.R., D.R., B.S., S.S., D.S., M.W., and I.Y. 18 U.S.C.

   § 3591(a)(2)(B).    (Counts One through Eleven and Twenty-Three through

   Thirty-Three).

3. Intentional Participation in an Act Resulting in Death.                 ROBERT

   BOWERS intentionally participated in an act, contemplating that the life of a

   person would be taken and intending that lethal force would be used in

   connection with a person, other than one of the participants in the offense, and

   J.F., R.G., R.M., J.R., C.R., D.R., B.S., S.S., D.S., M.W., and I.Y. died as a

   direct result of the act. 18 U.S.C. § 3591(a)(2)(C). (Counts One through

   Eleven and Twenty-Three through Thirty-Three).

4. Intentional Engagement in an Act of Violence, Knowing that the Act

   Created a Grave Risk of Death to a Person.                  ROBERT BOWERS

   intentionally and specifically engaged in an act of violence, knowing that the

   act created a grave risk of death to a person, other than one of the participants

   in the offense, such that the participation in the act constituted a reckless

   disregard for human life, and J.F., R.G., R.M., J.R., C.R., D.R., B.S., S.S., D.S.,

   M.W., and I.Y. died as a direct result of the act. 18 U.S.C. § 3591(a)(2)(D).

   (Counts One through Eleven and Twenty-Three through Thirty-Three).




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(C)   Statutory Aggravating Factors Enumerated Under 18 U.S.C. § 3592(c):

      1. Grave Risk of Death to Additional Persons. ROBERT BOWERS, in the

         commission of the offense, and in escaping apprehension for the violation of

         the offense, knowingly created a grave risk of death to one or more persons in

         addition to the victim of the offense, to include responding public safety officers

         A.B., J.C., J.G., J.H., T.M., D.M., A.M., J.P., J.R., M.S., M.S.2 and C.T. 18

         U.S.C. § 3592(c)(5). (Counts One through Eleven and Twenty-Three through

         Thirty-Three).

      2. Substantial Planning and Premeditation. ROBERT BOWERS committed

         the offense after substantial planning and premeditation to cause the death of a

         person. 18 U.S.C. § 3592(c)(9). (Counts One through Eleven and Twenty-

         Three through Thirty-Three).

      3. Vulnerable Victims. ROBERT BOWERS committed the offense against a

         victim who was particularly vulnerable due to old age (Counts One, Three,

         Seven through Ten, Twenty-Three, Twenty-Five, and Twenty-Nine through

         Thirty-Two) and infirmity (Counts Five, Six, Twenty-Seven, and Twenty-

         Eight). 18 U.S.C. § 3592(c)(11).

      4. Multiple Killings or Attempted Killings. ROBERT BOWERS intentionally

         killed and attempted to kill more than one person in a single criminal episode.

         18 U.S.C. § 3592(c)(16). (Counts One through Eleven and Twenty-Three

         through Thirty-Three).

(D)   Non-Statutory Aggravating Factors Identified Under 18 U.S.C. § 3593(a)(2):

      1. Victim Impact. ROBERT BOWERS caused injury, harm, and loss to J.F.,

         R.G., R.M., J.R., C.R., D.R., B.S., S.S., D.S., M.W., and I.Y., as well as to the
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   family, friends, and co-workers of those individuals. The injury, harm, and

   loss caused by ROBERT BOWERS with respect to each deceased victim is

   evidenced by the victim’s personal characteristics and by the impact of the

   victim’s death upon his or her family, friends, associates, and co-workers.

   (Counts One through Eleven and Twenty-Three through Thirty-Three).

2. Killings Motivated by Religious Animus. ROBERT BOWERS expressed

   hatred and contempt toward members of the Jewish faith and his animus toward

   members of the Jewish faith played a role in the killings of J.F., R.G., R.M.,

   J.R., C.R., D.R., B.S., S.S., D.S., M.W., and I.Y. (Counts One through Eleven

   and Twenty-Three through Thirty-Three).

3. Selection of Site. ROBERT BOWERS targeted men and women participating

   in Jewish religious worship at the Tree of Life Synagogue, located in the

   Squirrel Hill neighborhood of Pittsburgh, Pennsylvania, which is home to one

   of the largest and oldest urban Jewish populations in the United States, in order

   to maximize the devastation, amplify the harm of his crimes, and instill fear

   within the local, national, and international Jewish communities. (Counts One

   through Eleven and Twenty-Three through Thirty-Three).

4. Lack of Remorse. ROBERT BOWERS has demonstrated a lack of remorse

   for the offenses charged in the Superseding Indictment, as evidenced by his

   statements and actions during the course of and following the commission of

   the offenses. (Counts One through Eleven and Twenty-Three through Thirty-

   Three).

5. Injury to Surviving Victims. ROBERT BOWERS caused serious physical

   and emotional injury, including maiming, disfigurement, permanent disability,
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severe psychological impacts, and grievous economic hardship        to individuals

who survived the offense, to include:   l) physically injured civilian survivors,
D.L. and A.W.; 2) otherwise injured civilian survivors, C.8., D.D., J.C., L.F.,

A.G., M.G., J.M., J.P., D.R.2, A.S., J.S., S.W., and B.W.; 3) physically injured

law enforcement survfvors, A.B., T.M., D.M., J.P. and M.S.; and 4) otherwise

injured law enforcement survivors, J.C., J.G., J.H., A.M., J.R., M.S.2, and C.T.

(Counts One through Eleven and Twenty-Three through Thirty-Three).

                                          Respectfully submitted,

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